             Case 22-11068-JTD       Doc 196-1   Filed 12/09/22   Page 1 of 1




               IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF DELAWARE

In re:                           )        Chapter 11
                                 )        Case No. 22-11068 (JTD)
FTX TRADING LTD., et al.,        )        (Joint Administration Pending)
                                 )
         Debtors.                )        Hearing: Dec. 16, 2022 at 10:00 a.m.

NOTICE OF EXPEDITED MOTION OF BLOOMBERG L.P., DOW JONES
  & COMPANY, INC., THE NEW YORK TIMES COMPANY AND THE
    FINANCIAL TIMES LTD. TO INTERVENE FOR THE LIMITED
   PURPOSE OF OBJECTING TO THE MOTION OF DEBTORS FOR
   ENTRY OF A FINAL ORDER AUTHORIZING THE DEBTORS TO
REDACT OR WITHHOLD CERTAIN CONFIDENTIAL INFORMATION
 OF CUSTOMERS AND PERSONAL INFORMATION OF INDIVIDUALS

To: All parties on the attached Certificate of Service.

      Movants have filed an Expedited Motion to Intervene for the limited purpose
of presenting an Objection to Debtors’ Motion for Entry of a Final Order
Authorizing the Debtors to Redact or Withhold Certain Confidential Information of
Customers and Personal Information of Individuals.

       In accordance with Del. Bankr. L. R. 9013-1(h), responses may be presented
orally at the hearing on DECEMBER 16, 2022, AT 10:00 A.M.

       You must serve a copy of any written response on Movants’ counsel: David
L. Finger, Finger & Slanina, LLC, One Commerce Center, 1201 N. Orange St., 7th
fl., Wilmington, DE 19801.

                                                 /s/ David L. Finger___________
                                                 David L. Finger (ID #2556)
                                                 Finger & Slanina, LLC
                                                 One Commerce Center
                                                 1201 N. Orange St., 7th fl.
                                                 Wilmington, DE 19801.
                                                 (302) 573-2525
